VYANCA WILLIAMS,

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SEP 17 2012
IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIAames N. HATTEN, CLERK

ATLANTA DIVISION "Oh Sor
ALN
CIVIL ACTION B

FILE NO. 1212-CV - 3259

Plaintiff,

PENNCRO ASSOCIATES, INC.,

Defendant.

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NATURE OF ACTION

l, This is an action brought pursuant to the Fair Debt Collection

Practices Act (““FDCPA”), 15 U.S.C. § 1692 et seq.
JURISDICTION AND VENUE

2. This Court has jurisdiction pursuant to 15 U.S.C. § 1692k(d) and 28
ULS.C. § 1331.

3. Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),
where the acts and transactions giving rise to Plaintiff's action occurred in this
district, where Plaintiff resides in this district, and/or where Defendant transacts

business in this district.
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PARTIES

4. Plaintiff Vyanca Williams, (“Plaintiff”) is a natural person who at all
relevant times resided in the State of Georgia, County of Cobb, and City of
Kennesaw.

5. Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

6. Defendant Penncro Associates, Inc. (“Defendant”) is an entity who at
all relevant times was engaged, by use of the mails and telephone, in the business
of attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).

7. Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

FACTUAL ALLEGATIONS

8. Plaintiff is a natural person obligated, or allegedly obligated, to pay a
debt owed or due, or asserted to be owed or due a creditor other than Defendant.

9. Plaintiff's obligation, or alleged obligation, owed or due, or asserted
to be owed or due a creditor other than Defendant, arises from a transaction in
which the money, property, insurance, or services that are the subject of the
transaction were incurred primarily for personal, family, or household purposes.

10. Plaintiff incurred the obligation, or alleged obligation, owed or due, or

asserted to be owed or due a creditor other than Defendant.
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11. Specifically, the allegedly owed obligation to Plaintiff arose from a
personal credit card.

12. Defendant uses instrumentalities of interstate commerce or the mails
in a business the principal purpose of which is the collection of any debts, and/or
regularly collects or attempts to collect, directly or indirectly, debts owed or due,
or asserted to be owed or due another

13. In connection with the collection of an alleged debt in default,
Defendant sent Plaintiff initial written communication dated April 4, 2012,
regarding Bank of America/FIA Card Services N.A. account ending in 9850 (the
“Debt”). (See Correspondence dated April 4, 2012, attached hereto as Exhibit A).

14. Defendant’s April 4, 2012 initial written communication stated, in
relevant part:

REGARDING: PAST DUE CREDIT CARD

ACCOUNT # ENDING IN: 9850

TOTAL ACCOUNT BALANCE: $10,060.42

15. Inits April 4, 2012 initial written communication, Defendant failed to

inform Plaintiff whether the Account was subject to the accrual of interest and/or

other fees or charges on the date it sent the notice.
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16. Upon information and good-faith belief, at sometime after April 14,
2012, but prior to May 8, 2012, Defendant sent the Debt back to the creditor Bank
of America/FIA Card Services N.A.

17. In connection with the collection of the Debt, Bank of America sent
Plaintiff written communication dated May 8, 2012.

18. Bank of America’s May 8, 2012 correspondence stated, in relevant
part, as follows: “Your current balance is $10,181.” (See Correspondence dated
May 8, 2012, attached hereto as Exhibit B).

19. From the date of Defendant’s April 4, 2012 correspondence and Bank
of America’s May 8, 2012 correspondence, the alleged debt increased from
$10,060.42 to $10,181.00.

20. Further, Plaintiff's April 3, 2012 to May 2, 2012 Bank of America
account statement regarding the Debt indicated that fees were charged in the
amount of “$35.00” and interest charged in the amount of “$116.28.” (See Bank of
America Account Statement, attached hereto as Exhibit C).

21. In connection with the collection of the Debt, Defendant placed a call
to a third party, Geni Butler (“Ms. Butler”), on April 27, 2012 at approximately

1:30 P.M.
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22. During the April 27, 2012 telephone conversation, Defendant’s agent
and/or employee failed to identify himself.

23. Defendant’s actions constitute conduct highly offensive to a
reasonable person.

COUNT I
VIOLATION OF 15 U.S.C. § 1692b(1)

24. Plaintiff repeats and re-alleges each and every allegation contained
above.

25. Defendant violated 15 U.S.C. § 1692b(1) when, in connection with an
attempt to collect an alleged debt from Plaintiff, its agent and/or employee
telephoned a third-party and failed to identify himself.

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

a) Adjudging that Defendant violated 15 U.S.C. § 1692b(1);

b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C.
§1692k(a)(2)(A), in the amount of $1,000.00;

c) Awarding Plaintiff .actual damages, pursuant to 15 U.S.C.
§1692k(a)(1);

d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

this action pursuant to 15 U.S.C. §1692k(a)(3);
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e) Awarding Plaintiff any pre-judgment and post-judgment interest as
permissible by law; and

f) Awarding such other and further relief as the Court may deem just and
proper.

COUNT II
VIOLATION OF 15 U.S.C. § 1692¢(b)

26. Plaintiff repeats and re-alleges each and every allegation contained
above.

27. Defendant violated 15 U.S.C. § 1692c(b) by communicating with a
third party other than in the manner prescribed by 15 U.S.C. § 1692b et seq.,
without having received the prior consent of Plaintiff or the express permission of
a court of competent jurisdiction, and without it being necessary to effect a post-
judgment remedy.

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

a) Adjudging that Defendant violated 15 U.S.C. § 1692c(b);

b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C.
§1692k(a)(2)(A), in the amount of $1,000.00;

c) Awarding Plaintiff actual damages, pursuant to 15 US.C.

§ 1692k(a)(1);
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d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in
this action pursuant to 15 U.S.C. §1692k(a)(3);

e) Awarding Plaintiff any pre-judgment and post-judgment interest as
permissible by law; and

f) Awarding such other and further relief as the Court may deem just and
proper.

COUNT II
VIOLATION OF 15 U.S.C. § 1692e(2)(A)

28. Plaintiff repeats and re-alleges each and every allegation contained
above.

29. Defendant violated 15 U.S.C. § 1692e(2)(A) by falsely representing
the character, amount, or legal status of Plaintiff's alleged debt by failing to
disclose that the alleged debt was subject to continually accruing interest and/or
other fees and charges.

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

a) Adjudging that Defendant violated 15 U.S.C. § 1692e(2)(A);

b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C.
§1692k(a)(2)(A), in the amount of $1,000.00;

c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C.

§1692k(a)(1);
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d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in
this action pursuant to 15 U.S.C. §1692k(a)(3);

e) Awarding Plaintiff any pre-judgment and post-judgment interest as
permissible by law; and

f) Awarding such other and further relief as the Court may deem just and
proper.

COUNT IV
VIOLATION OF 15 U.S.C. § 1692e(10)

30. Plaintiff repeats and re-alleges each and every allegation contained
above.

31. Defendant violated 15 U.S.C. § 1692e(10) by using a false, deceptive,
or misleading representation or means in connection with the collection of an
alleged debt, including, but not limited to: its material omission as to whether
Plaintiff's alleged debt was subject to interest and/or other fees or charges.

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

a) Adjudging that Defendant violated 15 U.S.C. § 1692e(10);

b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C.
§1692k(a)(2)(A), in the amount of $1,000.00;

c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C.

§ 1692k(a)(1);
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d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in
this action;

e) Awarding Plaintiff any pre-judgment and post-judgment interest as
may be allowed under the law;

f) Awarding such other and further relief as the Court may deem just and
proper.

COUNT V
VIOLATION OF 15 U.S.C. § 1692g(a)(1)

32. Plaintiff repeats and re-alleges each and every allegation contained
above.

33. Defendant violated 15 U.S.C. § 1692g(a)(1) by failing to
meaningfully convey to Plaintiff the amount of the alleged debt by failing to
disclose that the alleged debt was subject to continually accruing interest and/or
other fees and charges

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

a) Adjudging that Defendant violated 15 U.S.C. § 1692g(a)(1);

b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C.
§1692k(a)(2)(A), in the amount of $1,000.00;

c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C.

§ 1692k(a)(1);
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d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in
this action;
e) Awarding Plaintiff any pre-judgment and post-judgment interest as
may be allowed under the law;
f) Awarding such other and further relief as the Court may deem just and
proper.
TRIAL BY JURY

34. Plaintiff is entitled to and hereby demands a trial by jury.
This 13 day of September, 2012.

ATTORNEYS FOR PLAINTIFF
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Respectfu
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CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Time New Roman and

a point size of 14.

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Respectfully submitted,

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